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                      UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION


UNION ASSET MANAGEMENT                   Case No. 3:20-cv-00518-X
HOLDING AG, Individually and On Behalf
All others similarly situated,           CLASS ACTION

                  Plaintiff,

            v.

FLUOR CORPORATION, DAVID T.
SEATON, CARLOS M. HERNANDEZ,
BRUCE A. STANSKI, D. MICHAEL
STEUERT, and ROBIN K. CHOPRA,

                  Defendants.



   BRIEF IN SUPPORT OF THE MOTION OF UNION ASSET MANAGEMENT
          HOLDING AG FOR APPOINTMENT AS LEAD PLAINTIFF
             AND APPROVAL OF ITS SELECTION OF COUNSEL
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       Union Asset Management Holding AG (“Union”) respectfully submits this brief in support

of its motion, pursuant to Section 21D(a)(3)(B) of the Securities Exchange Act of 1934 (the

“Exchange Act”), 15 U.S.C. § 78u-4(a)(3)(B), as amended by the Private Securities Litigation

Reform Act of 1995 (the “PSLRA”), for an order: (i) appointing Union as Lead Plaintiff; (ii)

approving its selection of Bernstein Litowitz Berger & Grossmann LLP (“Bernstein Litowitz”) as

Lead Counsel for the Class and McKool Smith PC (“McKool Smith”) as Liaison Counsel for the

Class; and (iii) granting any further relief that the Court may deem just and proper.

                                PRELIMINARY STATEMENT

       On February 28, 2020, Union, through its counsel, Bernstein Litowitz, filed the first and

only complaint (the “Complaint”) on behalf of itself and purchasers of Fluor Corporation (“Fluor”

or the “Company”) common stock between November 2, 2017 and February 14, 2020, inclusive

(the “Class Period”). Union filed that Complaint to recover the significant losses it and other Fluor

investors suffered because of a wide-spread accounting fraud perpetrated by Fluor and certain of

its current and former executives (collectively, “Defendants”).        The Complaint alleges that

Defendants violated Sections 10(b) and 20(a) of the Exchange Act, and U.S. Securities and

Exchange Commission (“SEC”) Rule 10b-5 promulgated thereunder, by making material

misrepresentations to investors during the Class Period. Fluor investors, including Union, incurred

significant losses when Defendants disclosed that Fluor incurred a $714 million charge related to

improper revenue recognition practices on a set of sixteen contracts (the “2Q 2019 Projects”),

which led the SEC to commence an investigation into Fluor’s accounting practices.

       The PSLRA requires this Court to appoint the “most adequate plaintiff” to serve as Lead

Plaintiff. 15 U.S.C. § 78u-4(a)(3)(B)(i). That determination depends on which movant has the

“largest financial interest” in the relief sought and whether that movant has made a prima facie

showing that it meets the adequacy and typicality requirements under Rule 23 of the Federal Rules
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of Civil Procedure (“Rule 23”). 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). As shown below, Union is the

“most adequate” plaintiff by virtue of, among other things, the approximate losses of $62.7 million

Union incurred on its purchases of approximately 2.3 million shares of Fluor common stock during

the Class Period.1

        In addition to asserting the largest financial interest, Union readily satisfies the relevant

requirements of Rule 23 because its claims are typical of all Class members and it will fairly and

adequately represent the Class. Union is a paradigmatic Lead Plaintiff under the PSLRA: it is a

sophisticated institutional investor with a real financial interest in the litigation. Indeed, Union’s

familiarity with the PSLRA is informed by its years of experience serving as a lead plaintiff in

several securities class actions, and proudly achieving some of the largest recoveries for investors

of all time. Thus, Union fully understands the Lead Plaintiff’s obligations to the Class under the

PSLRA and is willing and able to undertake those responsibilities to ensure vigorous prosecution

of this action.

        Union has also demonstrated its adequacy through the filing of the Complaint, showing

that Union has both the incentive and desire to litigate these claims vigorously. Union’s adequacy

is further demonstrated through its selection of Bernstein Litowitz and McKool Smith to serve as

Lead and Liaison Counsel, respectively. Accordingly, Union respectfully requests that the Court

appoint it Lead Plaintiff and otherwise grant its motion.




1
 Union is an institutional asset manager, which manages investment assets through separate funds
and is authorized to bring legal action on their behalf. Prior to seeking appointment as Lead
Plaintiff, Union obtained valid assignments of the funds’ claims. See Appendix of Exhibits in
Support of the Motion of Union Asset Management Holding AG for Appointment as Lead Plaintiff
and Approval of Its Selection of Counsel (the “Appendix”), Ex. B at App-04 – App-10. Union’s
PSLRA-required Certification is provided as Exhibit C to the Appendix. See Appendix, Ex. C at
App-11 – App-17. In addition, charts setting forth calculations of Union’s losses are provided as
Exhibit D to the Appendix. See Appendix, Ex. D at App-18 – App-23.


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                                   FACTUAL BACKGROUND

          Based in Irving, Texas, Fluor operates, through its subsidiaries, as a global engineering,

procurement, construction, and maintenance company that designs, builds and maintains energy

and gas facilities for both public and private clients across the globe.

          The action alleges that, throughout the Class Period, Defendants inflated Fluor’s revenue

and earnings by improperly recognizing revenue on the 2Q 2019 Projects. Once awarded a

contract to perform work on a project, Fluor would routinely submit “change forms” to its clients

in which Fluor would request additional funds to cover the Company’s cost overruns that resulted

from “unforeseen circumstances,” funds which the client was not contractually obligated to pay.

At the same time, Defendants assured investors that Fluor would only recognize revenue from its

submission of these change orders if it determined that “recovery of incurred costs is probable and

the amounts can be reliably estimated.” In truth, Defendants had been secretly utilizing change

orders, among other tactics, to improperly inflate Fluor’s revenue and earnings by recognizing

additional revenue on its contracts despite having no reasonable basis to do so. Defendants’

misrepresentations caused Fluor stock to trade at artificially inflated prices throughout the Class

Period.

          The truth emerged through a series of partial disclosures beginning on May 2, 2019, before

the markets had opened, when Fluor disclosed that (i) its CEO, David Seaton, had left the

Company, effective immediately, (ii) Fluor would be significantly reducing its earnings guidance,

and (iii) the Company was taking over $100 million in charges. On this news, Fluor’s share price

declined by $9.43 per share, or 24%, closing at $29.72 per share on May 2, 2019.

          On August 1, 2019, after the markets had closed, Fluor revealed that it would be taking a

$714 million pre-tax charge on the 2Q 2019 Projects, including a $233 million charge on a project

in which Fluor serves as a subcontractor in its work on the United States Army Radford Army


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Ammunition Plant. On this news, Fluor’s share price declined by $8.24 per share, over 26%,

closing at $22.67 per share on August 2, 2019.

        Then, on February 18, 2020, before the markets opened, the Company revealed that the

SEC was investigating Fluor’s past accounting and financial reporting, and had requested

additional information related to the 2Q 2019 Projects. In addition, Fluor announced that the

Company had also commenced its own internal investigation into the 2Q 2019 Projects, “focusing

initially on the Radford [Project].” As a result of these investigations, Fluor announced that it

would not be able to complete and file its Form 10-K on time. On this news, Fluor’s share price

declined by $4.75 per share, over 24%, closing at $14.79 per share on February 18, 2020.

                                           ARGUMENT

I.      UNION SHOULD BE APPOINTED LEAD PLAINTIFF

        Union should be appointed Lead Plaintiff because it is the movant “most capable of

adequately representing the interests of class members.” 15 U.S.C. § 78u-4(a)(3)(B)(i). The

PSLRA establishes a presumption that the “most adequate plaintiff” is the movant that “has the

largest financial interest in the relief sought by the class” and “otherwise satisfies the requirements

of Rule 23.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I). As discussed below, Union has the largest

financial interest in the relief sought by the Class, is uniquely qualified to represent the Class, and

should be appointed as Lead Plaintiff.

        A.     Union Has Timely Moved For Appointment As Lead Plaintiff

        Any Class member may move for appointment as Lead Plaintiff within 60 days of the

publication of notice that the first action asserting substantially the same claims has been filed. See

15 U.S.C. § 78u-4(a)(3)(A). On February 28, 2020, Union filed the first securities class action

asserting claims under Sections 10(b) and 20(a) of the Exchange Act against Defendants arising




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from the improper recognition of revenue. See ECF No. 1. As required by the PSLRA, on

February 28, 2020, counsel for Union, Bernstein Litowitz, published a notice on PR Newswire,

which alerted investors to the pendency of this action and set the deadline to seek Lead Plaintiff

status as April 28, 2020. See Appendix, Ex. E at App-24 – App-27. Accordingly, Union has

timely moved for appointment as Lead Plaintiff.

          B.      Union Has The Largest Financial Interest In The Relief Sought By The Class

          Union sustained losses of approximately $62.7 million on its Class Period purchases of

approximately 2.3 million shares of Fluor common stock.2 See Appendix, Exs. C at App-11 –

App-17; D at App-18 – App-23. Union is presently unaware of any other applicant seeking Lead

Plaintiff appointment that has a larger financial interest in the litigation. Accordingly, Union has

the largest financial interest of any qualified movant seeking Lead Plaintiff status and is the

presumptive “most adequate plaintiff.” 15 U.S.C. § 78u-4(a)(3)(B)(iii).

          C.      Union Satisfies The Requirements of Rule 23

          In addition to possessing the largest financial interest, Union satisfies Rule 23’s

requirements. 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(cc). At the lead plaintiff selection stage, only a

preliminary showing that the lead plaintiff is adequate and its claims are typical is necessary. See

Buettgen v. Harless, 263 F.R.D. 378, 381 (N.D. Tex. 2009). Union unquestionably satisfies both

requirements.

          Union’s claims are typical of the claims of other Class members.                The typicality

requirement is met where a lead plaintiff movant, like other Class members, “purchase[d] the stock

at inflated prices during the Class Period followed by the steep loss of investment value.” Parker

v. Hyperdynamics Corp., 4:12-CV-999, 2013 WL 623164, at *3 (S.D. Tex. Feb. 19, 2013). Here,



2
    Union’s losses are the same whether calculated on a first-in, first-out, or last-in, first-out basis.

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Union’s and all other Class members’ claims arise from the same course of events, and their legal

arguments to prove Defendants’ liability are identical. Like all other Class members, Union (i)

purchased Fluor common stock during the Class Period, (ii) at prices artificially inflated by

Defendants’ materially false and misleading statements and omissions, and (iii) was damaged by

Defendants’ fraud. Thus, Union satisfies the typicality requirement.

       Union likewise satisfies Rule 23’s adequacy requirement.             Under Rule 23(a)(4), a

representative party must “fairly and adequately protect the interests of the class.” Fed. R. Civ. P.

23(a)(4). The adequacy inquiry examines the “zeal and competence of the representatives’ counsel

and [] the willingness and ability of the representatives to take an active role in and control the

litigation and to protect the interests of absentees.” Hyperdynamics, 2013 WL 623164, at *3

(citation omitted). Union satisfies these elements because its substantial financial stake in the

litigation provides Union with the incentive to vigorously represent the Class’s claims. Moreover,

Union’s interests are perfectly aligned with those of the other Class members and are not

antagonistic in any way, and there is no evidence of collusion among the litigants. There are no

facts to suggest any actual or potential conflict of interest or other antagonism between Union and

other Class members.

       Further, Union has extensive experience serving as a lead plaintiff in securities class

actions and supervising the work of outside counsel. Based on its experience serving as a lead

plaintiff, Union fully understands the lead plaintiff’s obligations under the PSLRA, and is willing

and able to undertake these responsibilities to ensure the vigorous prosecution of this action. Union

has repeatedly demonstrated its ability and expertise in serving as an extraordinarily qualified and

effective advocate on behalf of investors in securities class actions, including by successfully

prosecuting actions that have resulted in some of the largest recoveries of all time. See, e.g., Hefler




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v. Wells Fargo & Co., No. 16-cv-5479 (N.D. Cal.) (recovering $480 million for investors with

Bernstein Litowitz serving as lead counsel); In re Equifax Inc. Sec. Litig., No. 17-cv-3463 (N.D.

Ga.) (recovering $149 million for investors, pending court approval, with Bernstein Litowitz

serving as lead counsel). In fact, Union has already taken steps to protect Class members’ rights

in this action by, among other things, investigating investors’ claims and directing its counsel,

Bernstein Litowitz, to file the first complaint asserting these securities fraud claims against

Defendants.

        In addition, Union is exactly the type of investor Congress sought to empower to lead

securities class actions through the PSLRA—an experienced and committed institutional investor

with a substantial interest in the litigation. See H.R. Conf. Rep. No. 104-369, at *34 (1995),

reprinted in 1995 U.S.C.C.A.N. 730, 733 (1995) (explaining that “increasing the role of

institutional investors in class actions will ultimately benefit shareholders and assist courts by

improving the quality of representation in securities class actions”).

        Last, Union has demonstrated its adequacy through its selection of Bernstein Litowitz to

serve as Lead Counsel and McKool Smith to serve as Liaison Counsel to represent the Class. As

discussed more fully below, Bernstein Litowitz and McKool Smith are highly qualified and

experienced in securities class action litigation. Accordingly, Union satisfies the typicality and

adequacy requirements of Rule 23.

II.     THE COURT SHOULD APPROVE UNION’S CHOICE OF COUNSEL

        The Court should approve Union’s selection of Bernstein Litowitz to serve as Lead

Counsel. Pursuant to 15 U.S.C. § 78u-4(a)(3)(B)(v), a plaintiff shall, subject to court approval,

select and retain counsel to represent the class they seek to represent, and the court should not

disturb plaintiff’s choice of counsel unless it is necessary to “protect the interests of the class.” 15

U.S.C. § 78u-4(a)(3)(B)(iii)(II)(aa).


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       Bernstein Litowitz is among the preeminent securities class action law firms in the country.

See Appendix, Ex. F at App-28 – App-88 (Bernstein Litowitz’s Firm Résumé). Bernstein Litowitz

served as lead counsel in In re WorldCom, Inc. Securities Litigation, No. 02-cv-3288 (S.D.N.Y.),

in which settlements totaling in excess of $6 billion—one of the largest recoveries in securities

class action history—were obtained for the class. More recently, Bernstein Litowitz obtained a

$1.06 billion recovery (inclusive of attorneys’ fees) for the class in In re Merck & Co., Inc.

Securities, Derivative & “ERISA” Litigation, MDL No. 1658 (D.N.J.). Bernstein Litowitz also

secured a resolution of $2.43 billion in In re Bank of America Corp. Securities, Derivative &

ERISA Litigation, No. 09-md-2058 (S.D.N.Y.), and a $730 million recovery in In re Citigroup Inc.

Bond Litigation, No. 08-cv-9522 (S.D.N.Y.).

       Other significant securities class actions in which courts in this Circuit have recognized

Bernstein Litowitz as adequate and qualified class counsel include In re Cobalt International

Energy, Inc. Securities Litigation, No. 14-cv-3428 (S.D. Tex.) (recovering $335 million for

investors), and Wyatt v. El Paso Corp., No. 02-cv-2717 (S.D. Tex.) (recovering $285 million for

investors)—two of the largest securities class action recoveries ever obtained in the Fifth Circuit.

Bernstein Litowitz also served as lead counsel in In re Adeptus Health Inc. Securities Litigation,

No. 17-cv-449 (E.D. Tex.) (recovering $44 million for investors, pending court approval), and

Bach v. Amedisys, Inc., No. 10-cv-395 (M.D. La.) (recovering $43.75 million for investors).

Accordingly, the Court should approve Union’s selection of Bernstein Litowitz as Lead Counsel

for the Class.

       The Court should appoint McKool Smith as Liaison Counsel for the Class. Headquartered

in Dallas, Texas, McKool Smith is an elite trial firm with a national presence. McKool Smith has




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extensive experience in complex litigation, including securities and class action practice, and is

well qualified to represent the Class as Liaison Counsel.

         Thus, the Court may be assured that by granting this motion, the Class will receive the

highest caliber of legal representation. Accordingly, the Court should approve Union’s selection

of Bernstein Litowitz as Lead Counsel for the Class and McKool Smith as Liaison Counsel for the

Class.

                                          CONCLUSION

         For the reasons stated above, Union respectfully requests that the Court: (i) appoint Union

as Lead Plaintiff; (ii) approve Union’s selection of Bernstein Litowitz as Lead Counsel and

McKool Smith as Liaison Counsel for the Class; and (iii) grant any further relief as the Court may

deem just and proper.

DATED: April 28, 2020                                 Respectfully submitted,

                                                      MCKOOL SMITH PC

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                                                      Proposed Liaison Counsel for the Class


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                                                        & GROSSMANN LLP

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                                  CERTIFICATE OF SERVICE

       I certify that on April 28, 2020, a true and correct copy of the foregoing document was

filed with the Clerk of Court using the CM/ECF system, which will send electronic notification

of such filing to all counsel of record.

                                            /s/ Lewis T. LeClair
                                            Lewis T. LeClair




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